       Case: 24-60395   Document: 212    Page: 1    Date Filed: 11/21/2024




                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                           November 21, 2024
Mr. Thomas McCarthy
Consovoy McCarthy, P.L.L.C.
1600 Wilson Boulevard
Suite 700
Arlington, VA 22209
Mr. T. Russell Nobile
Judicial Watch, Incorporated
P.O. Box 6592
Gulfport, MS 39506
      No. 24-60395      Republican Natl Cmte v. Wetzel
                        USDC No. 1:24-CV-25
                        USDC No. 1:24-CV-37
Dear Counsel:
This letter will serve to confirm my voicemail and email to you
this date advising the parties that the court has requested a
response to the Appellees’ Petition for rehearing en banc be filed
in this office on or before December 2, 2024.

                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Rebecca L. Leto, Deputy Clerk
                                  504-310-7703
cc:   Ms. Ginger Anders
      Mr. David Wayne Baria
      Mr. Noah Bokat-Lindell
      Mr. J. Kain Day
      Mr. Gilbert Dickey
      Mr. Christopher D. Dodge
      Ms. Elisabeth C. Frost
      Ms. Elizabeth Parr Hecker
      Mr. Tim C. Holleman
      Mr. Paul Whitfield Hughes III
      Mr. Eric W. Lee
      Mr. Justin Lee Matheny
      Mr. Robert Bruce McDuff
      Mr. Richard Alexander Medina
      Ms. Tina Meng Morrison
Case: 24-60395   Document: 212   Page: 2   Date Filed: 11/21/2024



Mr. Christopher J. Merken
Mr. Joseph M. Nixon
Mr. Spencer M. Ritchie
Mr. Davin McKay Rosborough
Mr. Rex Morris Shannon III
Mr. Scott G. Stewart
Mr. Joshua Tom
Mr. Jacob Van Leer
Ms. Caroline Van Zile
Mr. Donald B. Verrilli Jr.
Mr. Conor Woodfin
Ms. Paloma Wu
